                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                   )
                                           )
v.                                         )        NO. 3:14-00090
                                           )        JUDGE CAMPBELL
JASMOND FOSTER                             )


                                          ORDER


       Pending before the Court is a Motion for Change of Plea Hearing (Docket No. 804). The

Motion is GRANTED.

       The Court will hold a change of plea hearing for Defendant Jasmond Foster on

November 9, 2015, at 10:30 a.m. Any proposed plea agreement shall be submitted to the Court

by November 6, 2015.

       IT IS SO ORDERED.



                                                    __________________________________
                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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